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                                                                              2021 Sep-02 PM 05:42
                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                        NORTHEASTERN DIVISION


NUCLEAR DEVELOPMENT LLC,                )
                                        )
         Plaintiff,                     )
                                        )
v.                                      )      Case No.: 5:18-CV-01983-LCB
                                        )
TENNESSEE VALLEY                        )
AUTHORITY,                              )
                                        )
         Defendant.                     )


     DEFENDANT’S NOTICE PURSUANT TO COURT’S ORDER DATED
                      DECEMBER 27, 2018

        Defendant Tennessee Valley Authority (“TVA”) hereby gives notice pursuant

to the Stipulation of the Parties Regarding Plaintiff’s Motion for Preliminary

Injunction (Doc. 17), which was made an order of the Court on December 27, 2018

(Doc. 18), as follows:

        1.     The construction permits issued by the Nuclear Regulatory

Commission (“NRC”) for Units 1 and 2 at the Bellefonte site expire on October 1,

2021.

        2.     In an abundance of caution to avoid any contention that TVA had

violated the Court’s order dated December 27, 2018 (Doc. 18), TVA sent a letter to
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the NRC on August 31, 2021, requesting that the expiration date of the Bellefonte

construction permits be extended.

      3.     TVA intends to inform the NRC on or after September 10, 2021, that

as a result of the Court’s Final Judgment, TVA is withdrawing its request for

extension of the expiration date of those permits.

      Respectfully submitted this 2nd day of September, 2021.


                                       s/ Matthew H. Lembke
                                       Attorney for Defendant

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                         CERTIFICATE OF SERVICE

      I hereby certify that on September 2, 2021, a true and correct copy of the
foregoing was filed electronically with the Clerk of Court using the CM/ECF system,
which will send electronic notification of such filing to all counsel of record:

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                                            s/ Matthew H. Lembke
                                              OF COUNSEL




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